           Case 2:17-cr-00206-JAK Document 44 Filed 09/06/18 Page 1 of 2 Page ID #:146

                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                        CRIMINAL MINUTES - GENERAL	

	
	


    Case No.      LA CR17-00206 JAK                                                   Date    September 6, 2018


    Present: The Honorable     John A. Kronstadt, United States District Judge

    Interpreter     N/A

            Andrea Keifer                          Alex Joko                              Jennie Wang
            Deputy Clerk                 Court Reporter/Recorder                      Assistant U.S. Attorney


          U.S.A. v. Defendant(s):         Present Cust. Bond            Attorneys for Defendants: Present App. Ret.

Trevon Maurice Franklin                      X                  X      Summer Lacey                  X      X


                      ORDER TO SHOW CAUSE WHY DEFENDANT'S BOND SHOULD NOT BE REVOKED
    Proceedings:
                      (DKT. 8)

The hearing is held on the Order to Show Cause. Also present is Pretrial Services Officer, Matthew Carter. The
Court has reviewed the letter and Petition submitted by Officer Carter. Dkt. 41, 42. He informs the Court that
Defendant failed to report for another drug test, which was reported on September 4, 2018 by Pretrial Services
Officer, Antony Perez, in the Eastern District of California (Fresno). It is his understanding that Defendant was
scheduled to make-up the drug test on September 5, 2018, but failed to appear. Officer Carter states that
Defendant has admitted to the use of marijuana and alcohol on a daily basis. Government counsel agrees with
Officer Carter’s recommendation that Defendant’s bond should be revoked and Defendant should be remanded
into custody. Although the Pre-Sentence Report does not recommend a custodial sentence, the Government will
advocate for the imposition of one. Defense counsel argues that the nature of the offense does not warrant
incarceration. Moreover, the sentencing is set for September 27, 2018, which she believes will result in a
sentence of probation. Defense counsel recommends that the Court amend the conditions of pretrial release to
include location monitoring and outpatient drug treatment until the time of sentencing. She states that Defendant
has been advised to seek other living arrangements so that he is not residing with the alleged victim in the
reported domestic violence matter pending in the Superior Court in Fresno. Defense counsel reports that
Defendant took steps to inquire as to whether a bench warrant has been issued in that action, and was told that
no warrant is outstanding. This is not consistent with the statements in the materials submitted to the Court by the
Government.

In light of the foregoing, the Court orders the following:

      1. Defendant shall report to the Superior Court in Fresno no later than September 7, 2018 to inquire about
         the status of the bench warrant. If there is such a warrant, the Superior Court may decide to effect it by
         having Defendant detained;
      2. Defendant shall live in a location that complies with any active restraining order;
      3. Defendant shall contact Perez to schedule a date for a drug test and appear for the test unless he has
         been detained in connection with the Superior Court proceedings; and
      4. Defendant shall confer with Perez as to what drug and alcohol programs are available to him and the cost
	
CR‐11	 10/08 	                                   CRIMINAL	MINUTES	‐	GENERAL	                                    Page	1	of	2	
          Case 2:17-cr-00206-JAK Document 44 Filed 09/06/18 Page 2 of 2 Page ID #:147

                                         UNITED STATES DISTRICT COURT
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         of the programs.

On September 10, 2018, defense counsel shall file a report as to the status of the foregoing matters. Defense
counsel shall also update both Government counsel and Pretrial Services as to any developments that may
affect their respective positions as to detention of Defendant in these proceedings prior to sentencing or
alternative conditions that may be imposed on Defendant prior to sentencing. The hearing on the Order to Show
Cause is CONTINUED to September 17, 2018 at 1:30 p.m. Upon review of the September 10 report, and any
follow up report by counsel and/or Pretrial Services, the Court will determine whether the hearing is necessary.
Defendant is ordered to be present at the hearing unless he has been detained in connection with the Superior
Court proceedings in Fresno.

Defendant is advised that it is the Court’s expectation that he will comply with the Court’s Orders and the
conditions of his pretrial release.


IT IS SO ORDERED.




                                                                                                 :     26

                                                                 Initials of Deputy Clerk   ak
cc: Matthew Carter, Pretrial Services
    Anthony Perez, Pretrial Services




	
CR‐11	 10/08 	                                CRIMINAL	MINUTES	‐	GENERAL	                                   Page	2	of	2	
